           Case 1:13-vv-00538-UNJ Document 40 Filed 03/27/15 Page 1 of 2




      In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                           No. 13-538
                                      Filed: March 4, 2015

*************************                         UNPUBLISHED
LANA COMO,                                *
                                          *       Special Master Hamilton-Fieldman
                     Petitioner,          *
v.                                        *       Attorneys’ Fees and Costs; Reasonable
                                          *       Amount Requested to which Respondent
SECRETARY OF HEALTH                       *       Does Not Object.
AND HUMAN SERVICES,                       *
                                          *
                     Respondent.          *
*************************
Anne Carrión Toale, Maglio, Christopher & Toale, Sarasota, FL, for Petitioner.
Alexis Babcock, United States Department of Justice, Washington, D.C., for Respondent.

                                               DECISION 1

        On August 2, 2013, Lana Como (“Petitioner”) filed a petition pursuant to the National
Vaccine Injury Compensation Program. 2 42 U.S.C. §§ 300aa-1 to -34 (2006). Petitioner alleged
that she suffered from a peripheral neuropathy as a result of the administration of a diphtheria-
tetanus (“DT”) vaccine on November 26, 2010. On January 23, 2015, the undersigned issued a
decision awarding compensation to Petitioner.

       On March 3, 2015, the parties filed a stipulation regarding attorneys’ fees and costs.
The parties have agreed to an award of $19,000.00 for attorneys’ fees and costs. In accordance
with General Order Number 9, Petitioner represents that she has not personally incurred any
expenses in pursuit of her claim.



1
 The undersigned intends to post this unpublished decision on the United States Court of Federal Claims’
website, in accordance with the E-Government Act of 2002, Pub. L. No. 107 347, § 205, 116 Stat. 2899,
2913 (codified as amended at 44 U.S.C. § 3501 note (2006)). As provided by Vaccine Rule 18(b), each
party has 14 days within which to file a motion for redaction “of any information furnished by that party
(1) that is trade secret or commercial or financial information and is privileged or confidential, or (2) that
are medical files and similar files the disclosure of which would constitute a clearly unwarranted invasion
of privacy.” In the absence of such motion, the entire decision will be available to the public. Id.
2
 The National Vaccine Injury Compensation Program is set forth in Part 2 of the National Childhood
Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755, codified as amended, 42 U.S.C. §§
300aa-1 to -34 (2006) (Vaccine Act or the Act). All citations in this decision to individual sections of the
Vaccine Act are to 42 U.S.C.A. § 300aa.


                                                      1
            Case 1:13-vv-00538-UNJ Document 40 Filed 03/27/15 Page 2 of 2



        The undersigned finds that this petition was brought in good faith and that there existed a
reasonable basis for the claim. Therefore, an award for fees and costs is appropriate, pursuant to
42 U.S.C. § 300aa-15(b) and (e)(1). Further, the proposed amount seems reasonable and
appropriate. Accordingly, the undersigned hereby awards the amount of $19,000.00, in the
form of a check made payable jointly to Petitioner and Petitioner’s counsel, Anne Carrión
Toale, of the law firm of Maglio, Christopher and Toale, PA.

         In the absence of a motion for review filed pursuant to RCFC Appendix B, the clerk of
the court SHALL ENTER JUDGMENT in accordance with the terms of the parties’
stipulation. 3

        IT IS SO ORDERED.

                                                                  /s/ Lisa D. Hamilton-Fieldman
                                                                  Lisa D. Hamilton-Fieldman
                                                                  Special Master




        3
          Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of
notice renouncing the right to seek review.


                                                     2
